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U.S. District Cou.rt
l\/liddle District of Florida
Jacksonville Division

GOVERNl\/[ENT EXHIBIT
Exhibit No.: 1

Case No.: 3:16~cr-151-J-34MCR
UNITED STATES OF AMERICA
vs.

JOHN R. BIGGERSTAF
r,\ § _.r “ { ,-\,

Date Identified: 1-" ' f'€§

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Dac€ Admirced;

 

Patricia A. Pizzo, B.s., BcFE P*‘°"@:800t§;§€§{;?,“@t?;t;i§

 

Work
Experience:

Curricu|um Vitae

Director of ToXicology June 2007 - Present
Alere Toxz`cology Services, Inc., Gretna, Louisiana
(formerly Kroll Laboratory Spec'ialists, lnc.)
7Consults With client on technical issues and interpretation of drug screen results;
prepares and performs training lectures for clients and staff; Testify; Author
opinion letters; Performs duties of Certifying Ofticer for CAP-FUDT drug screens;
Works hands-on in all sections of the laboratory if required; ls a qualified operator
of GC/MS equipment, Hitachi 704, 717 , 7 37, 747, ETS and TDX; Acts as a
Consultant to the Louisiana State Legislature. Former Member of the F ederal Drug
Testing Advisory Board (DTAB); lnspector for the National Laboratory
Certitication Program (NLCP) and the College of American Pathologist Forensic
Urine Drug Testing Program (CAPFUDT).

SAMHSA V.P. Production / Director of Toxicology November 1995 ~ June 2007
Kroll Laboratory Specialists, Inc., Gretna, Louisiana
Functions as the Responsible Person (RP) under the SAMHSA guidelines;
Manages Kroll laboratory and all satellite locations and is responsible for overall
production and throughput; Prepares budget information and long range planning
for all locations; Prepares standard operating procedure (SOP) manuals for all
sections; Performs duties of Certifying Ofticer for DOT and CAP-FUDT drug
screens; Works hands-on in all sections of the laboratory if required; ls a qualified
operator of GC/MS equipment, Hitachi 704, 71.7, 737, 747, ETS and TDX; Acts as
a Consultant to the Louisiana State Legislature. Member of the F ederal Drug
Testing Advisory Board (DTAB). lnspector for the National Laboratory
Certit`ication Program (NLCP) and the College of American Pathologist Forensic
Urine Drug Testing Program (CAPFUDT).

V.P. Technical Affairs ` June 11987 ~ October 1995
Lal)oratory Specialists, Inc., Gretna, Louisiana
Managed the daily operations of the laboratory; Approved as RP under the NlDA
guidelines in June 1989; Wrote SOPS and laboratory policies; Perfonned hands-
on Work in all sections of the laboratory When required; Plarmed and evaluated
clinical trials on the Abbott HTDX System; Assisted GC/MS personnel in
improvement of methods; Performed lectures for industry and civic organizations

Vice Presidcnt / Director of ToXicology January 1980 - May 1987

Laboratory Specz'alz'sts, [nc., Gretna, Louisiana
Performed chemical analysis of samples for the Louisiana State Racing
Commission, numerous coroner’s oftices, hospitals, and private physicians;
Engaged in equine drug research, routine analysis of chemical samples, forensic
analysis, and extensive guest lecturing to various industries concerning drug
screening and drug abuse; Experienced in lnstrumentation including GC/MS;
Qualitied as an expert in the field oftoxicology.

 

CV for Patricia Pizzo

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Professional
Expedence:

EducaHon:

Supervisor, Toxicology Department June 1975 - December 1979
Bio Science / PANO Laboratory, NeW Orleans, Louisiana .
Operated the following instruments: Gas Chromatograph (With FID and EC
detectors), Atomic Absorption, High Pressure Liquid Chromatography, and
Ultraviolet Spectrophotometer; Routinely performed Thin Layer
Chromatography, therapeutic monitoring, autopsy cases, overdose cases, and l
analysis of street drugs; Directed the training and supervision of new personnel in
the Toxicology Department; Maintained quality control records, maintenance
manuals; Performed research and development of new procedures; Wrote cost
justification for maj or instruments

Chemist September 1970 - September 1974
Fedeml Bureau oflnvestigation Toxz`cology Laborato)y, Washington, D.C.
Operated the following instrumentation: Gas Chromatograph, Ultra-Violet
Spectrophotometer, lnfrared Spectrophotometer, and X-ray Diffraction; Routinely
analyzed flammable liquids, narcotics, pharmaceutical, illicit drugs, autopsy
cases, and quantitative and qualitative analysis

Teaching Assistant September 1966 ~ June 1970

Southeastern Louisiana Um'versz`ly, Hammond, Louisiana '
lnstructed freshman_chemistry classes; l\/laintained stock mold and yeast cultures;
Prepared reagents for chemistry and microbiology classes.

Fellow - June 1967 - August 1967
National Scz'ence Founa’atz'on Fellowshz'p / Universily of New Orleans, Nevv Orleans,
Louisiana
Researched the formation of heavy metals complexes With 6-mercapt01 purine as a
chemotherapeutic agent

Lectures:
' 96 Conference Lectures
' 130 lndustry Lectures
' 8 Television & Radio Appearances
' 10 Webinars

Consultant 011 Substance Abuse Testing:
' D.O.T.S. (Drugs Off The Streets)
' Louisiana Legislature

Former Member of the F ederal Drug Testing Advisory Board (DTAB)

Inspector for the National Laboratory Ce1tification Program (NLCP) and the College
of American Pathologist Forensic Urine Drug Testing Program (CAPFUDT).

Chalmette Sem`or Hz`gh School, Chalmette, Louisiana
Southeastern Louisiana Unz`versz'zj/, Hammond, Louisiana
B.S. in Microbiology/Chemistry

 

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Continuing Education: Minimum of 8 hours annually
Most recent: 4hrs - Prevalance of Novel Psychoactive substances (NPS) J an 2018
4hrs - Detection of Synthetic Cannabinoids in Biological Specimens .1 an 2018

, 8hrs -Updated Trends and Case reports for Novel Psychoactive Substances J an 2018

N|emberships:

Honors and
Awards:

'Publications:

' Ame) zcan Academy of F 01 ensic Scz`ences (Acz‘ive Membe))
' Socz`ezy OfForensic Toxz'cologists (Acz‘z've Member)

' Amerz`can fnstz.'tute OfChemiStS (Fellow)

' American College of Forensz`c Examz`ners

' National Scz`ence Foundaz‘z`on Fellowshz`p (]967)

' Academz`c Scholarship (1966)

' Deparz‘mem‘al Scholarship Chemisz‘ry (1966-] 969)

' Departmental Scholarshz`p Mcrobz`ology (] 969)

' Outstanding 'Young Women ofAmerz'ca (19 73)

' Certl`fz`ed Blooa’AIcohol Analyst by Louisiana (] 982~]987)
' T he World of W710's Who ofWomen (1992)

' Dl`plomaz‘ Boczrd Certijiea’ Forensz`c Examiner (]996)

1`. Pizzo, Pat, “Nevv Spray For Theophylline and Other Acid Drugs,” AORC Mez‘hoa's
Publz`cation (1981).

2. Pizzo, Pat, “Ketamine and l\/letabolites ~ Detection & Identiiication, ” AORC
Methods Publication (1984).

3. Pizzo, Pat and Sams, Rick, “Detection/ldentification of Ketamine and Metabolites
in Horse Urine,” Journal ofAnalytz'cal Toxicology (March/April 1987).

4. Pizzo, Pat, Wimbish, Gary, Nash, Stacey, and Wolford, Donald, “Analyses.of
Amphetamines With ONLlNE Reagents Using Periodate Treatment on the l-litachi
717,” JOz'm‘ TMFT/SOFT Internatz`onal Meez‘z`ng (1995).

5, Pizzo, Pat, “A Comparative Study of lmmuno Assay Reagents CEDIA v. KIMS,”
SOFT Conference (1996).

6. Pizzo Pat Shindelman, J ,,Mahal J. ,Hemphill G., and Coty, W A., “Development
and Evaluation of an lmproved Method fo1 Screening of A1np11eta1nines,” Joz`nl
MFS/SOFT meeting (1999).

7. Pizzo, Pat, “Ethylglucuronide Pros and Cons,” DA TIA Focus Magazine (Summer
2009), pgs 32-35.

8. Pizzo, Pat “interpretation of Opiate and Amphetamine Results, “DA T]A Focus
Magazz`ne (Spring 2010), pgs 27-31.

9. Pizzo, Pat, “The Next High: Synthetic Marijuana and other Designer Drugs,”
DATL€{ Focus Magazine (Summer 2011), pgs 9-13.

 

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10. Pizzo Pat, “The Evolution of Synthetic Cannabinoids, ” DATLA Focus Magazz`ne
(Spring 2014) pgs 34- 35

11. Pizzo, Pat, “We’ re at War: Battling the “Legal High” Designer Drugs and
Emerging Natural Substances, ” Sobe) Worch Magazine (April 2014 Vol3,1ssue 4),
pgs 14 26 &28.

Qualified Expert Type: State:

Witness: ‘

Criminal Court Louisiana (8 Parishes)
Minnesota
Texas

Civil Court Louisiana (9 Parishes)
California
Arizona

Arbitrations Louisiana
l\/lichigan
Nevv York
Ghio
Oklahoma
Tennessee
Texas
Florida

Unemployment Boards Arkansas Oklahoma
Colorado Texas
DelaWare North Carolina
Louisiana South Carolina
NeW Mexico
Nevv York

Federal Court Louisiana Ohio
lllinois California
Texas Alaska
Tem1essee Maine'
Florida New Mexico
Michigan New York

Provided expert testimony to the Louisiana Legislature

 

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